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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN


Leander Jones,                                        Case No.: 19-cv-84

                     Plaintiff,
v.                                                                   COMPLAINT

Medicredit, Inc.,

                    Defendant.


                                  PRELIMINARY STATEMENT

1.      This is an action brought under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (“FDCPA”). This law prohibits debt collectors from engaging in false, misleading and

unfair collection practices.

                                          JURISDICTION

2.      Jurisdiction of this Court arises out of events emanating from this District and this Court has

jurisdiction pursuant to 15 U.S.C. § 1692 et seq. and 28 U.S.C § 1331.

3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the conduct at

issue occurred in this District, Plaintiff resides in this District, and Defendant conducts business

in this district.

                                             PARTIES

4.      Plaintiff Leander Jones (hereinafter “Mr. Jones”) is a natural person who resides in Dane

County, State of Wisconsin, and is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

5.      Defendant Medicredit, Inc. (hereinafter “Defendant Medicredit”) is a foreign business with a

principal office of Three City Place Dr., Suite 690, St. Louis, MO 63141, with a registered agent of

CT Corporation System, 301 S. Bedford St., Suite 1, Madison, WI 53703.


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6.         The principal purpose of Defendant Medicredit’s business is the collection of debts

allegedly owed to third parties.

7.         Defendant Medicredit regularly collects, or attempts to collect, debts allegedly owed to third

parties.

8.         Defendant Medicredit was hired to collect an alleged debt from Mr. Jones.

9.         At all relevant times, Defendant Medicredit acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

10.        Defendant Medicredit is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).



                           FACTUAL ALLEGATIONS AS TO PLAINTIFF
11.        Mr. Jones received a collection letter from Defendant Medicredit dated October 10, 2018.

12.        In that letter, Defendant Medicredit was attempting to collect on an alleged debt from St.

Marys Hospital - Madison.

13.        The letter states in part:




14.        However, garnishment, attachment, or liens are only applicable after a judgment has been

entered, not at the commencement of a civil action.

15.        Pursuant to the FDCPA, consumers have a right to be free from illegal and unpermitted

collection actions, such as garnishments, attachments, or liens prior to a judgment being entered.



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16.      Pursuant to the FDCPA, consumers have a right to receive truthful collection letters that

do not contain false statements.

                                        TRIAL BY JURY

17.      Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. Amend. 7; Fed. R.

Civ. Pro. 38.

                                     CAUSES OF ACTION

                                  COUNT I.
           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

18.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.

19.      The foregoing acts and omissions of Defendant Medicredit constitute numerous and

multiple violations of the FDCPA, including but not limited to 15 U.S.C. §§ 1692e, 1692e(2),

1692e(5), 1692e(10), 1692f, and 1692f(1).

20.      As a result of Defendant Medicredit violations of the FDCPA, Plaintiff is entitled to

actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages pursuant to 15 U.S.C. §

1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).



WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:

      A. Judgment for actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
      B. Judgment for statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);
      C. That the Court award costs and reasonable attorneys’ fees, pursuant to 15 U.S.C.
         § 1692k(a)(3);
      D. That the Court grants such other and further relief as may be just and proper.


Dated this 4th day of February, 2019.           Respectfully submitted,

                                                By: s/ Heidi N. Miller
                                                Heidi N. Miller (WI # 1087696)

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